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                   IN THE UNITED STATES DISTRICT COURT                      FILED
                       FOR THE DISTRICT OF MONTANA
                                                                             JAN 022014
                             BILLINGS DIVISION
                                                                          Clerk. u.s District Court
                                                                            District Of Montana
                                                                                  Missoula
UNITED STATES OF AMERICA,                           Cause No. CR 04-87 -BLG-DLC

              Plaintiff,

       vs.                                           ORDER DENYING MOTION

RONALD EDWARD SMITH,

              Defendant.


       On December 27,2013, Defendant Ronald Smith moved the Court to

enforce the terms of the Amended Judgment entered in this case on September 25,

2009 (Doc. 660). Smith is a federal prisoner proceeding pro se.

       Smith asserts that United States District Judge Richard F. Cebull awarded

him credit for time served and ordered that the calculation of his sentence should

commence on June 24, 2004, the date of his arrest on the federal indictment. See

Resentencing Hr' g Tr. (Doc. 667) at 19: 11-20:6. He asks the Court to enforce

Judge Cebull's order.}

       Judge Cebull' s statements at the hearing did not and could not mean what


       1 Smith has previously sought credit for time served between June 24, 2004, and March
22, 2006. Mot. (Doc. 805). Judge Cebull denied the motion. Order (Doc. 809).


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Smith takes them to mean. The face page of the Presentence Report merely shows

the number of days a defendant has been in custody since his arrest on the federal

charges at issue. It does not and cannot show the amount of time for which a

defendant will necessarily receive credit against his sentence. Only the Bureau of

Prisons may determine what credit is due for time served in custody prior to

imposition of a federal sentence. A federal judge simply does not have the

authority to decree credit for time served. United States v. Wi/son, 503 U.S. 329,

333 (1992); 18 U.S.C. § 3585(b).

      Smith was in custody at Montana State Prison when he was arrested on the

federal indictment. Order (Doc. 20); Presentence Report ~~ 151-152. He was

serving state sentences throughout the time he spent in custody between his federal

arrest on June 24, 2004, and his original federal sentencing on March 22, 2006, see

Minutes (Doc. 490). He is not entitled to credit against his federal sentence for that

time. 18 U.S.C. § 3585(b). The Bureau of Prisons has given Smith credit for time

he spent in jail between September 23,2003, and April 30, 2004, because Smith

did not receive credit against his state sentences for that time. Castillo Memo at 1

(Doc. at 817-1 at 4); Feather Memo at 1 (Doc. 817-1 at 5).

      The BOP's calculation does not violate the terms of the Amended Judgment

of September 25, 2009 (Doc. 660).


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    Accordingly, IT IS HEREBY ORDERED that Smith's motion (Doc. 817) is

DENIED.

    DATED this Z';'" day of January,



                                  Dana L. Christensen
                                  United States District Court




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